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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CONRAD SMITH, et al.,

               Plaintiffs,

          v.                                                         Case No. 1:21-cv-02265-APM

TRUMP FOR PRESIDENT, INC., et al.,

                Defendants.

                    MOTION TO JOIN DEFENDANT KELLY MEGGS’
                    MOTION FOR PROTECTIVE ORDER AT ECF 150

      Defendant Joseph Biggs has been jailed since April 22, 2021, and in solitary confinement

since early March 2022. On December 12, 2022, he begins a 6-week jury trial at 21-cr-175 (Kelly,

J.) with four other January 6 defendants. It features oceans of discovery, a busy pre-trial agenda,

legions of fact and expert witnesses, and non-stop preparation by Biggs and his lawyers until time

of trial. It is expected to run in to February 2023. Biggs moves to join defendant Kelly Meggs’

Motion for Protective Order at ECF No. 150 for any reason and in any respect applicable to Biggs,

and further to delay all discovery in this case until after the criminal trial at 21-cr-175 is concluded.

      Accordingly, and for good cause shown, Biggs asks that this Motion to Join be granted.

                                                Respectfully submitted,

                                                COUNSEL FOR JOSEPH RANDALL BIGGS

Dated: July 22, 2022                            By: /s/ J. Daniel Hull
                                                JOHN DANIEL HULL
                                                DC Bar No. 323006/CA Bar No. 222862
                                                HULL MCGUIRE PC
                                                1420 N Street, N.W.
                                                Washington, D.C. 20005
                                                202.429.6520 office
                                                jdhull@hullmcguire.com
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                               CERTIFICATE OF SERVICE

      The undersigned certifies that on July 22, 2022, defendant Biggs’ Motion to Join was filed

and served via the Electronic Case Filing (ECF) system upon all counsel of record.


                                                   By: /s/ J. Daniel Hull
                                                   JOHN DANIEL HULL
                                                   DC Bar No. 323006
                                                   California Bar No. 222862
                                                   HULL MCGUIRE PC
                                                   1420 N Street, N.W.
                                                   Washington, D.C. 20005
                                                   (202) 429-6520
                                                   (619) 895-8336 cell
                                                   jdhull@hullmcguire.com
